ATTACHMENT A
                11560




            AN ACT
Amended Substitute Senate Bill No. 310
      121st General Assembly
              of Ohio




Supplemental Appropriations FY 1997
Am. Sub. S. B. No. 310
                                11567
         plement and modify the authorizations and conditions
         established for the operation and administration of
         certain state programs,   and to provide a special com­
         mission for the supervision or management and con­
         trol of school districts determined to be fiscally un­
         sound,  to sunset on June 30,   1998, the enactment of
         section 131.44 and the amendment of section 5747.02
         of the Revised Code,    to authorize the issuance of a
         special wildlife conservation license plate,    and to
         make supplemental appropriations for the biennium
         ending June 30, 1997.

Be it enacud by the General Assembly of the Stat,e of Ohio:
      SECTION 1. That sections 103.73,          Ar6ili
                                          103.74,           122.74, 122.76,
122.89, 125.041, 166.08, 307.851, 325.06, 504.02,     . , 507.12, 1631.26,
1907.20,  3313.483,  3313.487, 3313.488, 3313.489,    3313.4811, 3317.063,
3317.16,  3317.62, 3333.12, 3375.121, 3705.24,  3721.01, 3721.011, 3721.04,
4141.25, 4504.21,  5119.02, 5119.62,  5120.051, 5120.16, 5122.05, 5122.15,
5122.31, 5123.03, 6601.311, 5540.02, 5540.03, 5540.16, 5739.02, 5747.02,
5747.025,  and 5747.08 be amended and new section 5120.17 and sections
9.67, 109.l1l, 131.44, 807.    3316.01, 3316.02, 3316.03, 3316.04, 3316.06,
3316.06, 3316.07,  3316.08,_i
                            gw   ,  n  3316.09,  3316.10, 3316.11, 3316.12,
3316.13, 3316.14, 3316.16,.� 3316.18,           3316.19 and 4503.57 of the
Revised Code be enacted to read as follows:
     Sec. 9.67. NO OWNER OF A PROFESSIONAL SPORTS TEAM
THAT USES A TAX-SUPPORTED FACILITY FOR MOST OF ITS
HOME GAMES AND RECEIVES FINANCIAL ASSISTANCE FROM
THE STATE OR A POLITICAL SUBDIVISION THEREOF SHALL
CEASE PLAYING MOST OF ITS HOME GAMES AT THE FACILITY
AND BEGIN PLAYING MOST OF ITS HOME GAMES ELSEWHERE
UNLESS THE OWNER EITHER:
      (A) ENTERS INTO AN AGREEMENT WITH THE POLITICAL
SUBDIVISION PERMI'ITING THE TEAM TO PLAY MOST OF ITS
HOME GAMES ELSEWHERE;
      (B) GIVES THE POLITICAL SUBDIVISION IN WHICH THE
FACILITY IS LOCATED NOT LESS THAN SIX MONTHS' AD­
VANCE NOTICE OF THE OWNER'S INTENTION TO CEASE
PLAYING MOST OF ITS HOME GAMES AT THE FACILITY AND,
DURING THE SIX· MONTHS AFTER SUCH NOTICE,                     GIVES THE
POLITICAL SUBDIVISION OR ANY INDIVIDUAL OR GROUP OF
INDIVIDUALS WHO RESIDE IN THE AREA THE OPPORTUNITY
TO PURCHASE THE TEAM.
  Tho abeve boxod text was dlsapprovod Juno 20, 1996, by Governor Volnovlch
Am. Sub. S. B. No. 310
                                   11568
       Sec. 103. 73. (A) The correctional institution inspection committee
shall do all of the following:
       (1) Subject to division (C} of this section, establish and maintain a
continuing program of inspection of each state correctional institution used
for the custedy, control, training, and rehabilitation of persons convicted
of crime. Subject to division (C) of this section, the committee may inspect
any local correctional institution used for the same purposes. Subject to
division (C) of this section, the committee, and each member of tt, THE
COMMITTEE, for the purpose of making an inspection pursuant to this
section, shall have access to any state or local correctional institution or to
any part of the institution and shall not be required to give advance notice
of, or to make prior arrangements before conducting, an inspection.
       (2} Evaluate and assist in the development of programs to improve
the condition or operation of correctional institutions;
       (3} Prepare a repert for submission t'l the succeeding general assem­
bly of the findings 1M8e THE COMMITTEE MAKES in its inspections
and of any programs that have been proposed or developed to improve the
condition or operation of the correctional institutions in the state. The
repert shall contain a separate evaluation of the inmate grievance proce­
dure at each state correctional institution. The committee shall submit the
report to the succeeding general assembly within fifteen days after com­
mencement of itie THAT GENERAL ASSEMBLY'S first regular session.
        (B} Subject to division (C) of this section, the committee shall make an
inspection of each state correctional institution each biennium. The inspec­
tion shall eeneiei ef ftet, •tihftft fetlP MMB w ehaH include attendance at
 one general meal peried and one rehabilitative or educational program.
        (C) An inspection of a state correctional institution or local correc­
tional institution under division (A) or (B) of this section or under section
 103. 74 of the Revised Code is subject to and shall be conducted in accor­
 dance with all of the following:
        (1) The inspection shall not be conducted unless the ehMl'IMft ane
 ·liee ehlltf'tl'lM CHAIRPERSON of the committee� GRANTS prior
 approval for the inspection. THE GRANT OF PRIOR APPROVAL
 SHALL SPECIFY WHETHER THE INSPECTION IS TO BE CON­
 DUCTED BY A SUBCOMMITTEE APPOINTED UNDER SECTION
 103. 74 OF THE REVISED CODE OR IS TO BE CONDUCTED OTHER
 THAN BY A SUBCOMMITTEE APPOINTED UNDER THAT SEC­
 TION.
        (2) The inspection shall not be conducted unless ONE OF THE
  FOLLOWING APPLIES:
        (a) IF THE INSPECTION IS TO BE CONDUCTED BY A SUB­
 COMMITTEE APPOINTED UNDER SECTION 103. 74 OF THE
 REVISED CODE, at least two members appointed to the committee are
  present for the inspectioni
        (b) IF DMSION (C)(2)(a) OF THIS SECTION DOES NOT AP­
 PLY, AT LEAST ONE MEMBER APPOINTED TO THE COMMIT­
  TEE AND AT LEAST ONE STAFF MEMBER OF THE COMMITTEE
 ARE PRESENT FOR THE INSPECTION.
Am. Sub. S. B. No. 310
                                     11824


     SECTION 46. The Chief of the Division of Wildlife and the Bureau of
Motor Vehicles shall take all appropriate actions to begin receiving re­
quests for and issuing of Wildlife Conservation license plates no later than
six monthB after the effective date of thiB act.




               r_,.____ of the House of Representatives.




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 Am. Sub. S. B. No. 310
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      The section numbering of law of a general and pennanent nature is




                        Director, Legi,latiw Service Commi8Bion.


� Filed in the�ffice ofthe Secretary ofState llt Columbus, Ohio, on the
� day of _      >:J::<:!:+-.    , A. D. 1�.


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                               r                Secrct.ary of Stau.


 File No.O C\                  Effective   Da���'Al�4b
   In accordance with section 23 of the Act and ORC section 1.471
the codified and uncodified sections of law contained in the Act
are immediately effective except for those sections specified in
section 24 of the Act, certain other sections are effective or
specified in those sections.
   Section 33 of Am. Sub. H.B. 117 of the 121st General Assembly
is amended by this act and also by Am. Sub. S.B. 293 of the
121st General Assembly. Section 47 of Am. Sub. H.B. 117 of the
121st General Assembly is amended by this act and also by Am.
Sub. H.B. 440 and Am. H.B. 748, all of the 121st General
Assembly. Comparison of these amendments in pursuance of
section 1.52 of the Revised Code discloses that they are not
irreconcilable so that they are required by that section to be
harmonized to give effect to each amendment .
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                               �A"'�
                              Director, Legislative Service Commission
